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AO 245B (Mod. D/NJ 12/06) Sheet 1 - Judgment in a Criminal Case




                                                           UNITED STATES DISTRICT COURT
                                                                 District of New Jersey


  UNITED STATES OF AMERICA

              v.                                                            CASE NUMBER      2:21-CR-00585-KM-1
 KEITH RICHTER

            Defendant.


                                                          JUDGMENT IN A CRIMINAL CASE
                                               (For Offenses Committed On or After November 1, 1987)


            The defendant, KEITH RICHTER, was represented by JAMES R. FROCCARO, JR., ESQ.

The defendant pleaded guilty to Count 1 of the INFORMATION on 7/28/2021. Accordingly, the court has adjudicated that
the defendant is guilty of the following offense:

                                                                                                                  Count
 Title & Section                 Nature of Offense                                            Date of Offense     Number

 18:922(g)(1)                    POSSESSION OF A FIREARM AND                                  2/21/2021           1
                                 AMMUNITION BY A CONVICTED FELON


       As pronounced on October 14, 2021, the defendant is sentenced as provided in pages 2 through 5 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

        It is ordered that the defendant must pay to the United States a special assessment of $100.00 for Count 1 of
Information, which shall be due immediately. Said special assessment shall be made payable to the Clerk, U.S. District
Court.

        It is further ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of any
material change in economic circumstances.

            Signed this 14th day of October, 2021.

                                                                             /s/ Kevin McNulty
                                                                             ___________________________
                                                                             Kevin McNulty
                                                                             U.S. District Judge




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AO 245B (Mod. D/NJ 12/06) Sheet 2 - Imprisonment


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                                                    IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of 33 months.

         The defendant will remain in the custody of the U.S. Marshals Service pending designation by the Bureau of Prisons
for service of this sentence.

       The Court recommends that the Bureau of Prisons designate FCI Danbury or a facility as near as possible to
defendant’s home address.




                                                        RETURN

      I have executed this Judgment as follows:
_________________________________________________________________________________________________
_________________________________________________________________________________________________
_________________________________________________________________________________________________
_________________________________________________________________________________________________

            Defendant delivered on                                  To ________________________________________
 At                                                                    , with a certified copy of this Judgment.


                                                                            __________________________
                                                                               United States Marshal

                                                                            By _________________________
                                                                                 Deputy Marshal
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AO 245B (Mod. D/NJ 12/06) Sheet 3 - Supervised Release


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                                                         SUPERVISED RELEASE
            Upon release from imprisonment, you will be on supervised release for a term of 3 years.

         Within 72 hours of release from custody of the Bureau of Prisons, you must report in person to the Probation Office
in the district to which you are released.

         While on supervised release, you must not commit another federal, state, or local crime, must refrain from any
unlawful use of a controlled substance and must comply with the mandatory and standard conditions that have been adopted
by this court as set forth below.

        You must submit to one drug test within 15 days of commencement of supervised release and at least two tests
thereafter as determined by the probation officer.

            You must cooperate in the collection of DNA as directed by the probation officer

        If this judgment imposes a fine, special assessment, costs, or restitution obligation, it is a condition of supervised
release that you pay any such fine, assessments, costs, and restitution that remains unpaid at the commencement of the
term of supervised release.

            You must comply with the following special conditions:

            CONSENT TO SEARCH

            You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. §
            1030(e)(1)), other electronic communications or data storage devices or media, or office, to a search conducted by
            a United States probation officer. Failure to submit to a search may be grounds for revocation of release. You must
            warn any other occupants that the premises may be subject to searches pursuant to this condition. The probation
            officer may conduct a search under this condition only when reasonable suspicion exists that you have violated a
            condition of supervision and that the areas to be searched contain evidence of this violation. Any search must be
            conducted at a reasonable time and in a reasonable manner.

            GANG/CRIMINAL ASSOCIATIONS PROHIBITION

            You must refrain from associating with, or being in the company of, any members of any street gang, outlaw
            motorcycle gang, traditional or non-traditional organized crime group, or any other identified threat group. You are
            restricted from frequenting any location where members of said organizations are known to congregate or meet.
            You must not have in your possession any item or paraphernalia which has any significance or is evidence of
            affiliation with said organizations.

            The Court finds that the defendant does not have the ability to pay a fine. The Court will waive the fine in this case.
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                                                  STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions
are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
tools needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct
and condition.


1) You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
   of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
   within a different time frame.

2) After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
   how and when you must report to the probation officer, and you must report to the probation officer as instructed.

3) You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
   permission from the court or the probation officer.

4) You must answer truthfully the questions asked by your probation officer.

5) You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
   living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
   change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
   the probation officer within 72 hours of becoming aware of a change or expected change.

6) You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
   probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
   view.

7) You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
   excuses you from doing so. If you do not have fulltime employment you must try to find full-time employment, unless
   the probation officer excuses you from doing so. If you plan to change where you work or anything about your work
   (such as your position or your job responsibilities), you must notify the probation officer at least 10 days before the
   change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
   circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
   change.

8) You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
   has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
   the permission of the probation officer.

9) If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10) You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e..
    anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
    person such as nunchakus or tasers).

11) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
    informant without first getting the permission of the court.

12) If the probation officer determines that you pose a risk to another person (including an organization), the probation
    officer may require you to notify the person about the risk and you must comply with that instruction. The probation
    officer may contact the person and confirm that you have notified the person about the risk.
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                                                  STANDARD CONDITIONS OF SUPERVISION
13) You must follow the instructions of the probation officer related to the conditions of supervision.




                                                         For Official Use Only - - - U.S. Probation Office

   Upon a finding of a violation of probation or supervised release, I understand that the Court may (1) revoke supervision
or (2) extend the term of supervision and/or modify the conditions of supervision.

    These conditions have been read to me. I fully understand the conditions, and have been provided a copy of them.

  You shall carry out all rules, in addition to the above, as prescribed by the Chief U.S. Probation Officer, or any of his
associate Probation Officers.

                                     (Signed)_____________________________________________________________________
                                                          Defendant                                Date


                                                  _____________________________________________________________________
                                                      U.S. Probation Officer/Designated Witness         Date
